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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

                                                     )
 In re:                                              )       Chapter 11 (Subchapter V)
                                                     )
 FREE SPEECH SYSTEMS LLC,                            )       Case No. 22-60043 (CML)
                                                     )
                                  Debtor.            )
                                                     )
                                                     )
 In re:                                              )       Chapter 11
                                                     )
 ALEXANDER E. JONES,                                 )       Case No. 22-33553 (CML)
                                                     )
                                  Debtor.            )
                                                     )


            STATEMENT AND RESERVATION OF RIGHTS BY THE OFFICIAL
          COMMITTEE OF UNSECURED CREDITORS OF ALEXANDER E. JONES
                  REGARDING THE DISCLOSURE TO THE COURT

          The Official Committee of Unsecured Creditors (the “Committee”) of Alexander E. Jones

(“Jones”) respectfully files this statement and reservation of rights (the “Statement”) regarding the

Disclosure to the Court [Case No. 22-60043 (CML), ECF No. 534] (the “Disclosure”) filed jointly

by Jones and Jones’s entity, Free Speech Systems, LLC (“FSS”), on the docket for FSS’s chapter

11 case, In re Free Speech Systems, LLC, Case No. 22-60043 (CML) (Bankr. S.D. Tex.) (the “FSS

Case”) (but not on the docket for Jones’s chapter 11 case, In re Alexander E. Jones, Case No. 22-

33553 (CML) (Bankr. S.D. Tex.) (the “Jones Case”)). In support of this Statement, the Committee

respectfully states as follows.

          1.     By the Disclosure, Jones and FSS disclose that an unidentified employee of FSS

formed a new entity, Mountain Way Marketing LLC (“Mountain Way”), and began invoicing and

receiving payments through such entity from certain unidentified advertisers in exchange for FSS’s
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on-air advertising and product promotion. Specifically, the Disclosure states that Mountain Way

has received at least $243,742.09, and transferred at least $157,272.76 of such amount to Jones.

The Disclosure further states that Jones has “committed to cause all amounts paid by the

Advertisers to Mountain Way to be paid to” FSS, and that the source of those funds will be

$157,272.76 from Jones’s debtor-in-possession account and $86,469.33 from Mountain Way’s

account.

       2.      Neither Jones nor FSS disclosed this issue to the Committee prior to filing the

Disclosure or consulted the Committee regarding the transfer of more than $150,000 of funds

belonging to Jones’s bankruptcy estate. This is of grave concern to the Committee and its

members.

       3.      In view of the foregoing, and contemporaneously with the filing of this Statement,

the Committee has served information requests on each of Jones, FSS and Mountain Way in respect

of the matters described in the Disclosure and reserves all rights in respect of the same.


                           [Remainder of page intentionally left blank.]




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Dated: March 27, 2023         Respectfully submitted,

                              By: /s/ Marty L. Brimmage, Jr.

                              AKIN GUMP STRAUSS HAUER & FELD LLP
                              Marty L. Brimmage, Jr.
                              Texas Bar No. 00793386
                              Lacy M. Lawrence
                              Texas Bar No. 24055913
                              2300 N. Field Street, Suite 1800
                              Dallas, Texas 75201
                              Telephone: (214) 969-2800
                              Facsimile: (214) 969-4343
                              Email: mbrimmage@akingump.com
                              Email: llawrence@akingump.com

                              -and-

                              Ira S. Dizengoff (admitted pro hac vice)
                              David M. Zensky (admitted pro hac vice)
                              Philip C. Dublin (admitted pro hac vice)
                              Sara L. Brauner (admitted pro hac vice)
                              Katherine Porter (admitted pro hac vice)
                              One Bryant Park
                              New York, NY 10036
                              Telephone: (212) 872-1000
                              Facsimile: (212) 872-1002
                              Email: idizengoff@akingump.com
                              Email: dzensky@akingump.com
                              Email: pdublin@akingump.com
                              Email: sbrauner@akingump.com
                              Email: kporter@akingump.com

                              Counsel to the Official Committee of Unsecured
                              Creditors of Alexander E. Jones




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                               CERTIFICATE OF SERVICE

        I certify that on March 27, 2023, I caused a copy of the foregoing document to be served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas.

                                                           /s/ Marty L. Brimmage, Jr.
                                                           Marty L. Brimmage, Jr.




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